103 F.3d 122
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Granville VENEY, Petitioner-Appellant,v.William L. SMITH, Warden of the Maryland House ofCorrection;  Attorney General of The State ofMaryland, Respondents-Appellees.
    No. 96-6639.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 7, 1996.Decided Nov. 19, 1996.
    
      Granville Veney, Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Tarra R. DeShields-Minnis, OFFICE OF THE ATTORNEY GENERAL OF MARYLAND, Baltimore, Maryland, for Appellees.
      D.Md.
      AFFIRMED.
      Before RUSSELL and WIDENER, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order denying relief on his petition filed under 28 U.S.C. § 2254 (1994), amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214.   We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge, and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Veney v. Smith, No. CA-95-369-HAR (D.Md. Apr. 1, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    